Case 2:12-cv-00572-JRG Document 348 Filed 01/26/18 Page 1 of 1 PageID #: 8089



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


ARCHER AND WHITE SALES, INC.

             Plaintiff,                              Civil Action No. 2:12-CV-00572-
                                                     JRG
      v.

HENRY SCHEIN, INC., DANAHER
CORPORATION, INSTRUMENTARIUM
DENTAL, INC., DENTAL EQUIPMENT,
LLC, KAVO DENTAL TECHNOLOGIES,
LLC, DENTAL IMAGING
TECHNOLOGIES CORPORATION,
PATTERSON COMPANIES, INC., AND
BENCO DENTAL SUPPLY CO.,
   .
             Defendants.


                                        ORDER


      Given the Court's Order of January 19, 2018, granting Plaintiff's Motion for Leave

to Exceed Page Limits (Dkt. No. 342), the Plaintiff's Motion to Expedite Briefing of said

motion (Dkt. No. 343) is, accordingly, DISMISSED AS MOOT.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 26th day of January, 2018.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE
